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                   EXHIBIT J
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           From:                      Chris Wolf <cwolf011@gmail.com>
           Sent:                      4/14/2022 6:48:17 AM -0500
           To:                        Elizabeth Spragg <espragg@waterstonemortgage.com>
           Subject:                   Re: Re: FW: Pre-Employment Email
          Attachments:                image001 jpg; image002.png; image003.jpg; image004.jpg;
                                      image005.jpg; image006.jpg; image007.png; image008.png;
                                      image009.png; image010.png


           Hi Elizabeth,
           I think I forgot to add the minimum and max comp per loan. It's min $500 and max
           $8,000. Sandra Viscomi does not have a max.
           Thank you!

           On Tue, Apr 12, 2022, 10:24 PM Elizabeth Spragg <espra           waterstonemortgage.com>
           wrote:

            Thanks. We will get started on offer letters. I will reach out with any questions.




                                  Elizabeth Spragg

                                  Chief People and Administrative Officer


                                  N25W23255 Paul Road Pewaukee, WI
                                  53072


                                  O: 262.701.5878 M: 414.721.8611


                                  F: 262.367.3863


                                  Email: espragg@WaterstoneMortgage.com




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            From: Chris Wolf <cwolf011@gmail.com>
            Sent: Tuesday, April 12, 2022 8:15 PM
            To: Elizabeth Spragg <espra     waterstonemortgage.com>
            Subject: Re: FW: Pre-Employment Email




            Hi Elizabeth,

            Spreadsheet attached. Jake Lowe is not transitioning with us. We just found out
            today. He got an opportunity with another company.

            Let me know if you have any questions. I'm not sure how the File Contacts work in your
            Encompass so you may have questions on Diana Jacobs and Kristie Johnson.

            Thank you,




            Chris Wolf




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            On Tue, Apr 12, 2022 at 12:25 PM Chris Wolf <cwolf011@gqmail.com> wrote:

                 Yes I will get to you by end of the day.



                 Thanks!




                 Chris Wolf




                 On Tue, Apr 12, 2022 at 9:54 AM Elizabeth Spragg
                 <espragg@waterstonemortgage.com> wrote:
                   Hi Chris,

                   Thanks for this. I have added some columns for pay and original hire date. Any
                   chance you have access to compensation details that you could share with me? I
                   would like to get offer letters put together for everyone.



                   Thanks!




                                          Elizabeth Spragg

                                          Chief People and Administrative Officer
                             x
                                          N25W23255 Paul Road Pewaukee, WI
                                          53072


                                          O: 262.701.5878 M: 414.721.8611


                                          F: 262.367.3863


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                 From: Chris Wolf <cwolf011@qmail.com>
                 Sent: Tuesday, April 12, 2022 8:42 AM
                 To: Elizabeth Spragg <espra     waterstonemortgage.com>
                 Subject: Re: FW: Pre-Employment Email




                 Hi Elizabeth,

                 Here is our full roster. Let me know if there is anything else you need.



                 Thank you!



                 Chris Wolf




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                 On Mon, Apr 11, 2022 at 6:45 PM Elizabeth Spragg
                 <espragg@waterstonemortgage.com> wrote:
                   Chris,
                   Melissa Wagner and Jen Witon from the HR team will begin calling the 5 names
                   which you gave us first thing in the morning. Below is the email which they will
                   send to them after the conversation.



                   As we said on the call, we are happy to have others start this process right away
                   as well. If you do not have personal email addresses on everyone else, they can
                   send and email to HR@waterstonemortgage.com with a message that states they
                   are with the Ormond Beach team. My team can then have them get started on
                   this process as well. In order to start the background check process with our third
                   party vendor, we need name, personal email address and job title.


                   We will try to make this process as simple as possible for everyone. Please ask
                   any questions at any time.



                                         Elizabeth Spragg

                                         Chief People and Administrative Officer
                            x
                                         N25W23255 Paul Road Pewaukee, WI
                                         53072


                                         O: 262.701.5878 M: 414.721.8611


                                         F: 262.367.3863


                                         Email: espragg@WaterstoneMortgage.com




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                 From: Elizabeth Spragg
                 Sent: Monday, April 11, 2022 5:02 PM
                 To: Jen Witon <jwiton@waterstonemortgage.com>; Melissa Wagner
                 <MWagner@waterstonemortgage.com>
                 Subject: RE: Pre-Employment Email


                 Hi
                 It was wonderful speaking with you today. We are very excited to have you
                 join our team at Waterstone Mortgage! As a next step, we would like to begin
                 the pre-employment process. Please complete the following steps at your
                 earliest convenience. If you have any questions, please do not hesitate to call
                 or email me any time!

                        1. General Application
                        2. Certification & Affirmation
                        3. Complete background consent from our partner, Asurint. You will receive a
                           separate email from Asurint with instructions on how to complete this step
                           of the process.

                                      e   If you do not wish for Asurint to contact your current OR previous
                                          employers, please be sure to indicate on 4€cedo not contacta€O on
                                          the verification portion.




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                 Over the course of this week, we will be in touch with more details about starting
                 with Waterstone Mortgage including an offer letter and more details about what to
                 expect on your first day!


                 Thank you,




                 Jen Witon

                 Human Resources Specialist


                 N25 W23255 Paul Road Pewaukee, Wisconsin 53072


                 O: 262.701.5840


                 Email: JWiton@WaterstoneMortgage.com




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